        Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 1 of 9



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
                                      )
                                      )
 FATEMA AKTER,                        )
                                      )
           Plaintiff,                 )
                                      )
                                      )    Civil Action No. 24-CV-00146(CRC)
      v.
                                      )
                                      )
 NATHAN FLOOK,
                                      )
                                      )
           Defendant.                 )

                                        )



MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO MOTION
                        TO DISMISS
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 2 of 9



                                         ARGUMENT

I.      Plaintiff’s Filing as a Matter of Course of an Amended Complaint Moots
        this Motion.


       Plaintiff has recently filed an Amended Complaint as a matter of course. This

moots this motion. “Upon the filing of the plaintiff's Amended Complaint, the defendants'

motion to dismiss became moot. See Barnes v. District of Columbia, 42 F. Supp. 3d 111,

117 (D.D.C. 2014) ("When a plaintiff files an amended complaint as of right within

[twenty-one] days after the filing of [a] motion to dismiss under Rule 12(b), (e), or (f), the

amended complaint becomes the operative pleading, and any pending motion to dismiss

becomes moot[.]" (citations omitted)).



II.     5 USC 555(b) Places s Clear, Non-Discretionary Duty on a Consular Officer to
        Conclude an Immigrant Visa Application Brought to it in a Reasonable Time
       The government claims that Nathan Flook has no clear duty to adjudicate any

specific visa application. However, “[t]he APA ‘imposes a general but nondiscretionary

duty upon an administrative agency to pass upon a matter presented to it “’within a

reasonable time.’'" Meyou v. United States Dep't of State, 2022 U.S. Dist. LEXIS 88737,

*7, 2022 WL 1556344 (D.D.C.), quoting Mashpee Wampanoag Tribal Council, Inc. v.

Norton, 336 F.3d 1094, 1099 (D.C. Cir. 2003), quoting 5 U.S.C. § 555(b). In fact, § 555(b)

is precisely the sole basis upon which the court of appeals found such a nondiscretionary

duty to exist in Mashpee.

       In Mashpee, “[t]he Secretary argues that because the BIA did not in its regulations

impose upon itself a ‘mandatory, nondiscretionary duty to begin to consider the Mashpee

petition’ by a time certain, the district court ‘lacked jurisdiction to exercise mandamus to

compel Interior to place the Mashpee petition on active consideration.’”. Id. at 1099. The

court directly rejected this argument because “Mashpee's claim arose under the
      Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 3 of 9
Administrative Procedure Act, which imposes a general but nondiscretionary duty upon an

administrative agency to pass upon a matter presented to it ‘within a reasonable time’, 5

U.S.C. § 555(b).” Id.

       The fact that the court did not find any other basis upon which the Secretary had a

mandatory, nondiscretionary duty to begin to consider the Mashpee petition by a time

certain, establishes that none other was needed. If § 555(b) imposed a mandatory non-

discretionary duty upon the agency in Mashpee, there is no reason why it would not also

impose such a duty upon the consul in the processing of visas, the government offers none,

and in fact numerous courts of this district have so held. See, e.g., Meyou, 2022 U.S. Dist.

LEXIS 88737 at *7, Vulupala v. Barr, 438 F. Supp. 3d 93, 100-101 (D.C.D. 2020); Nine

Iraqi Allies Under Serious Threat Because of Their Faithful Serv. to the United States v.

Kerry, 168 F. Supp. 3d 268, 282 (D.C.D. 2016).

III.    On the Merits, the Delay Here is Unreasonable

       Application of the TRAC factors demonstrate that the delay experienced by

Ms. Akter in bringing her immigrant visa application to a conclusion is

unreasonable.

A. The first TRAC factor tips sharply in Ms. Akter’s favor

       “The D.C. Circuit has explained that the first TRAC factor—the time agencies take

to make decisions must be governed by a ‘rule of reason’—is the ‘most important,’’.

Memon v. Blinken, 2023 U.S. Dist. LEXIS 17016, *4, 2023 WL 1438396, (D.C.D.C.) quoting In re


Core Commc'ns, Inc., 531 F.3d 849, 855 (D.C. Cir. 2008). “In general, courts in this

jurisdiction have regularly found that the Government applies a ‘rule of reason’ to the

review of visa petitions by adjudicating applications in the order they were filed. … Simply

put, the inquiry begins and ends with Defendant's consistent application of the ‘first-in,

first-out’ methodology.” Memon, 2023 U.S. Dist. LEXIS 17016, at *4-5.

        Since, upon information and belief, Nathan Flook and/or his predecessor(s) have

 issued or finally refused numerous immigrant visas to applicants who filed all documents
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 4 of 9
 necessary to become documentarily qualified for an immigrant visa interview and

 regarding whom all necessary documents had been received from USICS after March 20,

 2021, Compl. ¶15, the Defendant certainly cannot be following a “first-in, first out”

 methodology.

         But even if it were to be concluded that the mere fact that the Defendant does not

 appear to be, or even claims to be, operating on a First-In, First Out basis, was not sufficient

 grounds to find that he wasn’t applying a rule of reason, that doesn’t change the fact that

 to be able to prevail on this TRAC Factor, the Defendant should, at the very least, claim

 that "there [is] any rhyme or reason—congressionally prescribed or otherwise—for [the]

 agency's delay," Khazaei, 2023 WL 6065095, at *6,” Rashidian v. Garland, 2024 U.S.

 Dist. LEXIS 40727, *16. Here however, the Defendant has offered no “rhyme or reason”,

 in fact no explanation whatsoever, as to what, if any, system he is using to process visa

 applications, or why a decision has yet to be made on Fatema Akter’s visa application.

       Further, the mere fact that Ms. Akter’s visa application has been pending less than

any particular time period is not only facially irrelevant to the question of whether the

consul has been applying a rule of reason in processing immigrant visa applications, but to

determine the first TRAC factor on this basis would be directly contrary to the D.C. Circuit

Court of Appeals holding in Mashpee Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d

1094 (D.C. Cir. 2003) that “[w]hether a delay is unreasonable (or, of course reasonable)

‘cannot be decided in the abstract, by reference to some number of months or years beyond

which agency inaction is presumed to be unlawful, but will depend in large part… upon the

complexity of the task at hand, the significance (and permanence) of the outcome, and the

resources available to the agency’,”. Id. at 1102. (parenthetical material added).

       Finally, neither the resources available to the agency nor the impact of the COVID-

19 pandemic on the State Department's resources for visa processing can be of relevance in

determining whether the delay here is unreasonable if neither the lack of resources nor the

impact of the Covid-19 pandemic has prevented Mr. Flook from bringing to a conclusion
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 5 of 9
visa applications which became documentarily qualified, and from which all necessary

documents were received from the USCIS, after Ms. Akter’s.

       Accordingly, inasmuch as it appears, upon information and belief, that Nathan

Flook is not processing immigrant visa applications on a first-in, first-out basis, and has

offered neither rhyme nor reason to explain the delay in Ms. Akter’s case, and certainly

none that would explain why, upon information and belief, other visa applicants who

became eligible for visas after her have been processed ahead of her, the first TRAC factor

tips sharply in Fatema Akter’s favor.

B. The 2nd TRAC factor also tips sharply in Ms. Akter’s favor

       The second TRAC factor asks whether Congress has provided an “indication of the

speed with which it expects the agency to proceed.’ In re United Mine Workers, 190 F.3d

at 549 (emphasis added). And § 1571(b) provides such an indication, at least as a general

matter: immigrant benefit applications should be resolved within one hundred and eighty

days. Because Plaintiffs’ [matters] have remained pending for [much] longer than that

period, the second TRAC factor cuts in their favor.” Hulli v. Mayorkas, 549 F. Supp. 3d 95,

101 (D.D.C. 2021) (bracketed materials added).

       In fact, the case of immediate relatives of U.S. citizens, such as Fatema Akter,

Congress has expressed itself even more unequivocally, providing that

       It shall be the policy of the Department of State to process immigrant visa
       applications of immediate relatives of United States citizens and nonimmigrant K–1
       visa applications of fiances of United States citizens within 30 days of the receipt of
       all necessary documents from the applicant and the Immigration and Naturalization
       Service.

       P.L. 106-113, § 237.

       Accordingly, the second TRAC tips sharply in Ms. Akter’s favor.

C. The 3rd and Fifth factors also tip sharply in Fatem Akter’s favor


       Factor (3) strongly tips towards Plaintiff as well. Human welfare is very much at

stake in this action, in that, “[c]ourts, …, have recognized indefinite family separation as a
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 6 of 9
form of irreparable injury. See, e.g., Washington v. Trump, 847 F.3d 1151, 1169 (9th Cir.

2017) (identifying "separated families" as "substantial injuries and even irreparable

harms"); Doe v. Trump, 418 F. Supp. 3d at 598-99 (granting preliminary injunction and

finding family separation caused by Proclamation to be basis for irreparable

harm); Martinez v. McAleenan, 385 F. Supp. 3d 349, 371 (S.D.N.Y. 2019) ("[C]ourts

recognize the irreparable harms that stem from being unlawfully separated from

family."); J.S.R. v. Sessions, 330 F. Supp. 3d 731, 742-43 (D. Conn. 2018) (issuing

preliminary injunction and finding that family separation was irreparable injury). Make the

Rd. N.Y. v. Pompeo, 475 F. Supp. 3d 232, 268.

       The fifth factor tips sharply in her favor for the same reason.

D. The 4th and 6th factors are neutral

       Nor does the fourth factor favor the Defendant, even though “[t]he D.C. Circuit has

‘refused to grant relief, even though all the other factors considered in TRAC favored it,

where a judicial order putting [a party] at the head of the queue would simply move all

others back one space and produce no net gain.’” Rashidian, 2024 U.S. Dist. LEXIS

40727, *19 quoting Mashpee Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094,

1100 (D.C. Cir. 2003). However, in Mashpee “other petitioners had been waiting longer for

a decision, and the Secretary claimed that because of the agency's limited resources any

relief to Mashpee would necessarily come at the expense of those applicants.” Id. at 1100.

No such claim has been made here, and Plaintiff has made the allegation that in fact others

who have been waiting less than she have received a decision. Compl. ¶15.

       In any event, Fatema Akter is not requesting that her application be expedited, but

merely that it be processed according to speeds which, upon information and belief, are

already slower than that of the processing of recent applicants for immigrant visas.

Therefore this Court need not consider the effect of expediting delayed action on agency

activities of a higher or competing priority. True, “[t]he D.C. Circuit has ‘refused to grant

relief, even though all the other factors considered in TRAC favored it, where a judicial
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 7 of 9
order putting [a party] at the head of the queue would simply move all others back one

space and produce no net gain.’” Rashidian, 2024 U.S. Dist. LEXIS 40727, *19 quoting

Mashpee Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1100 (D.C. Cir.

2003). However, in Mashpee “other petitioners had been waiting longer for a decision, and

the Secretary claimed that because of the agency's limited resources any relief to Mashpee

would necessarily come at the expense of those applicants.” Id. at 1100. No such claim has

been made here, and, again, Plaintiff has alleged that in fact others who have been waiting

less time than her have received a decision. Compl. ¶15. Therefore, while some courts have

declined to order one plaintiff to be processed ahead of another, there is nothing in the

pleading which shows that this would be effect of a ruling in Plaintiff’s favor here, and no

factual allegations outside the pleadings may be considered when deciding a 12(b)(6)

motion. United States v. Emor, 785 F.3d 671, 677 (D.C. Cir. 2015).

        The Sixth TRAC factor is likewise neutral. Although there is no evidence of

Defendant’s bad faith, that is merely because there is no evidence regarding Defendant’s

actions at all,

        The Defendant’s Motion is Premature


        In Gonzalez v. Cuccinelli, 985 F.3d 357 (4th Cir. 2020), the court reversed a

decision dismissing the plaintiffs' mandamus action for failure to state a claim because

        While a 'first in, first out' approach with enumerated exceptions may be a rule of
        reason, we do not know enough about how the agency implements its rules and
        exceptions. We also think that Plaintiffs have pled sufficient facts to show that their
        interests are weighty, implicate health and welfare, and are harmed by the long
        wait. The agency may be able to refute these contentions, but at this stage we may
        review only Plaintiffs' pleadings. Among the issues that may be important on
        remand are resource constraints. The agency may well be able to show resource
        constraints and competing priorities in any number of ways. And courts generally
        "have no basis for reordering agency priorities." In re Barr Laboratories, Inc., 930
        F.2d 72, 76, 289 U.S. App. D.C. 187 (D.C.Cir. 1991); see also Blanco de Belbruno
        v. Ashcroft, 362 F.3d 272, 280 (4th Cir. 2004) (noting that when an agency faces "a
        backlog of tens of thousands of cases," it "operates in an environment of limited
        resources, and how it allocates those resources to address the burden of increasing
        claims is a calculation that courts should be loathe to second guess"). But at this
       Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 8 of 9
       point we cannot rely on the agency's allegations to find as a matter of law that this
       factor necessarily favors the agency.

        Gonzalez, 985 F.3d at 375-376.

       This case is primarily distinguishable from Gonzalez in that here the Consul doesn’t

even claim to be following a First In – First Out (FIFO) approach – in fact he has stated

nothing about his approach to processing immigrant visa applications at all 1. Further,

Fatema Akter’s interest in family unification is undermined by the unexplained (and

inexplicable) delay in her case.

       Finally, just as in Gonzalez, even if the Defendant here does follow a rule of reason

of some sort in adjudicating immigrant visas, we not only have no idea what it is, but we

certainly do not know enough about how Nathan Flook implements it or any other rules

and exceptions. Nor has he shown any resource constraints or competing whatsoever.

Accordingly, this Court should reject the Defendant’s Motion at least until there is evidence

in the record of exactly how he does process visas and whether Fatema Akter’s application

has been processed consistent with his rule of reason, even assuming that he has one.



                                      CONCLUSION


        For the foregoing reasons, the Court should deny this motion.

       Respectfully Submitted this 7th day of April, 2024.

/s/ Michael E. Piston
Michael E. Piston (MI 002)
Attorney for the Plaintiff
38-08 Union Street, Ste 9A
Flushing, NY 11354
646-876-3772
Michaelpiston4@gmail.com
                                            22 -
            Case 1:24-cv-00146-CRC Document 8 Filed 04/07/24 Page 9 of 9



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                )
                                                )
    Fatema Akter,                               )
                                                )
                    Plaintiff,                  )
                                                )      Civil Action No. 24-CV-00146(CRC)
          v.                                    )
                                                )
    Nathan Flook,                               )
                                                )
                Defendants                      )

_                                              )

                                      [PROPOSED] ORDER

         UPON CONSIDERATION of Defendant’s motion to dismiss, and the entire record herein,

 it is hereby

         ORDERED that Defendants’ motion is DENIED.



 SO ORDERED:

_____________________
      _______________________________________
 Date                                               CHRISTIOPHER R. COOPER
                                                    UNITED STATES DISTRICT JUDGE
